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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

STEVEN HOTZE, M.D. WENDELL                      §
CHAMPION, HON. STEVE TOTH, AND                  §
SHARON HEMPHILL,                                §
                                                §
            Plaintiffs,                         §
                                                §
v.                                              §         Case No. 4:20-cv-03709
                                                §
CHRIS HOLLINS, in his official capacity as      §
Harris County Clerk,                            §
                                                §
            Defendant,                          §         Judge Andrew S. Hanen
                                                §
and                                             §
                                                §
MJ FOR TEXAS; DSCC; DCCC; MARY                  §
CURRIE; CARLTON CURRIE JR.;                     §
JEKAYA SIMMONS, and DANIEL                      §
COLEMAN,                                        §
                                                §
            Proposed Intervenor-Defendants,     §
                                                §
and                                             §
                                                §
CHRISTINA MASSARA, ALAN MAUK,                   §
JENN RAINEY, BRIAN SINGH, MARY                  §
BACON, KIMBERLY PHIPPS-NICHOL,                  §
NYGUEN GRIGGS, NELSON VANEGAS,                  §
JESSICA GOODSPERO, AMY                          §
ASHMORE, RICHARD FRANKEL,                       §
ELAINE FRANKEL, RYAN FRANKEL,                   §
CELIA VESELKA, SERGIO ALDANA,                   §
RUSSELL “RUSTY” HARDIN, DOUGLAS                 §
MOLL, AND CAREY JORDAN,                         §
                                                §
            Proposed Intervenor-Defendants.     §

            ORDER GRANTING DRIVE-THRU VOTERS’ MOTION TO INTERVENE

            Having considered the Drive-Thru Voters’ Motion to Intervene (the “Motion”), the

response, the arguments of counsel, and all relevant law and facts, this Court finds that the



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Drive-Thru Voters have established and are entitled to intervention of right under Federal Rule

of Civil Procedure 24(a). Accordingly, the Motion is hereby GRANTED.

            The Clerk is further directed to file the Drive-Thru Voters’ Answer to Plaintiffs’

Complaint for Emergency Injunctive Relief, attached as Exhibit A to the Drive-Thru Voters’

Motion, in the official records of this case.


            Signed on this the _____ day of ____________________ 2020.



                                                  HON. ANDREW S. HANEN
                                                  UNITED STATES DISTRICT JUDGE




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